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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

MARVIN STOXSTELL                               '
         Plaintiff,                            '
                                               '
VS.                                            '          C.A. 6:12CV357
                                               '
UNION PACIFIC RAILWAY COMPANY                  '
         Defendant.                            '

               UNOPPOSED MOTION TO DISMISS WITHOUT PREJUDICE

         Now respectfully comes Plaintiff, MARVIN STOXSTELL and files his Unopposed

Motion to Dismiss Without Prejudice pursuant to the provisions of Rule 41 FRCP and

would show the following:

         1.    Plaintiff filed this suit on June 1, 2012 under the Federal Employers’ Liability

Act (FELA), 45 U.S.C. §51 et seq. to recover damages for personal injuries sustained by

Plaintiff while employed by Defendant and while engaged in interstate commerce.

         2.    Defendant, Union Pacific Railroad Company filed an answer July 30, 2012.

Defendant has not filed any counter-claims in this matter.

         3.    Defendant is unopposed to Plaintiff’s Motion to Dismiss without Prejudice and

therefore would not be prejudiced by this dismissal.

         4.    Plaintiff seeks a dismissal so that Plaintiff can re-file this matter in State

Court.

         Plaintiff prays this court to grant Plaintiff’s Unopposed Motion to Dismiss Without

Prejudice to the re-filing of same.
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                                          Respectfully submitted,

                                          YOUNGDAHL & CITTI, P.C.

                                          /s/ Ross Citti
                                          Ross Citti
                                          State Bar No. 04256600
                                          rcitti@youngdahl.com
                                          Sara L. Youngdahl
                                          syoungdahl@youngdahl.com
                                          12621 Featherwood Drive, Suite 240
                                          Houston, Texas 77034-4906
                                          281-996-0750
                                          281-996-0725/Fax

                                          ATTORNEYS FOR PLAINTIFF
                                          MARVIN STOXSTELL


                              CERTIFICATE OF SERVICE

      I certify that a true and correct copy of the above and foregoing instrument has been
properly forwarded to counsel of record listed below pursuant to the Federal Rules of Civil
Procedure on August 30, 2012.


                                          /s/ Ross Citti
                                          Ross Citti


cc:   Mainess Gibson                             By Electronic Filing
      Earnest Wotring
      Connelly Baker Wotring
      700 JP Morgan Chase Tower
      660 Travis Street
      Houston, Texas 77002
